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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 4:19-cv-10142-KMM

  IRVIN LOPEZ,

         Movant,
  v.

  UNITED STATES OF AMERICA,

         Respondent.
                                                /

                       ORDER ON REPORT AND RECOMMENDATION

         THIS CAUSE came before the Court upon pro se Movant Irvin Lopez’s Amended Motion

  Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody.

  (“Mot.”) (ECF No. 14). The Court referred the matter to the Honorable Lisette M. Reid, United

  States Magistrate Judge, who issued a Report and Recommendation recommending that the

  Motion be DENIED. (“R&R”) (ECF No. 24). Movant did not file objections and the time to do

  so has passed. The matter is now ripe for review. As set forth below, the Court ADOPTS the

  R&R.

         The Court may accept, reject, or modify, in whole or in part, the findings or

  recommendations made by the magistrate judge. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b)(3).

         Movant is a federal prisoner incarcerated at Rivers Correctional Institution in Winston,

  North Carolina. Mot. at 1. While represented by counsel, Movant pled guilty to conspiring to

  possess with intent to distribute cocaine while aboard a vessel subject to the United States’

  jurisdiction. (CR-ECF No. 72). 1 In a factual proffer, Movant admitted that he was one of six



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   References to Movant’s criminal case, United States v. Cameras De Leon, et al., 4:18-cr-10018-
  KMM-6, are notated as “CR-ECF No. __”.
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  individuals aboard a go-fast vessel that the United States Coast Guard (“U.S.C.G.”) intercepted

  after a Marine Patrol Aircraft detected the vessel traveling at a high rate of speed approximately

  87 nautical miles from the Mexico/Guatemala boarder with packages on the deck. (CR-ECF No.

  73) at 1. After the U.S.C.G. team approached the vessel and identified themselves as law

  enforcement, the vessel gave chase and the vessel’s crew began jettisoning packages from it. Id.

  The U.S.C.G. team fired shots, disabling the vessel’s engine. Id. at 2. A safety sweep of the vessel

  found six individuals aboard, including Movant, none of whom identified himself as the master of

  the vessel. Id. The U.S.C.G. team did not observe a vessel name, registration number, or indicia

  of nationality. Id. One of the six individuals made a claim of Mexican nationality for himself and

  the vessel. Id. The United States contacted the Government of Mexico, which responded that they

  could neither confirm nor deny the vessel’s nationality. Id. Accordingly, it was deemed a vessel

  without nationality and subject to the jurisdiction of the United States. Id. The U.S.C.G. seized a

  total of 21 bales weighing approximately 943 kilograms, the contents of which field-tested positive

  for cocaine. Id.

         In entering his guilty plea, Movant affirmatively acknowledged that he (1) received a copy

  of the indictment and fully discussed the charges with his attorney; (2) was fully satisfied with

  counsel’s representation, and the advice given to him by his attorney in the case; (3) had the

  opportunity to read and discuss the plea agreement with his attorney before signing it; (4) was

  pleading guilty because he was guilty; and (5) understood the maximum possible penalties that

  could be imposed. (CR-ECF No. 140) at 6–10. Movant acknowledged that no one had made any

  other or different promises or assurances, other than those contained in the plea agreement, to

  induce a guilty plea. Id. at 8. The Court accepted Movant’s guilty plea and found that the plea

  was made knowingly, intelligently, and voluntarily. Id. at 19–20.



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         On February 11, 2019, Movant was sentenced to 135 months’ imprisonment, followed by

  five (5) years’ supervised release. (CR-ECF No. 127). On August 27, 2019, Movant filed his

  original Motion Under § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal

  Custody. (ECF No 1). Then, on December 3, 2019, Movant filed the instant Amended Motion

  challenging the constitutionality of his conviction because he received ineffective assistance of

  counsel. (ECF No. 14). Specifically, Movant argues that his counsel was ineffective for (1) failing

  to move to dismiss Movant’s criminal case for lack of jurisdiction; (2) failing to move to dismiss

  Movant’s criminal case because Movant was wrongfully arrested and innocent; (3)

  unprofessionally negotiating a plea that was not in Movant’s favor; (4) misleading Movant to plead

  guilty to a crime he did not commit; (5) failing to withdraw Movant’s guilty plea; and (6) failing

  to interview witnesses. See (ECF No. 14-1).

         As set forth in the R&R, Magistrate Judge Reid recommends that the Amended Motion be

  denied as to all six claims. R&R at 17. Specifically, Magistrate Judge Reid finds that Movant

  fails to demonstrate that (1) counsel’s performance was deficient, and (2) there is a reasonable

  probability that the deficient performance prejudiced the defense, both of which are required to

  prevail on a claim of ineffective assistance of counsel. Id. at 7; Strickland v. Washington, 466 U.S.

  668, 687, 694 (1984).

         As to Movant’s claim that his counsel was ineffective for not moving to dismiss the

  indictment for lack of jurisdiction, Magistrate Judge Reid finds that there was conclusive proof

  that the subject vessel was subject to the jurisdiction of the United States in accordance with the

  Maritime Drug Law Enforcement Act. R&R at 9–10; 46 U.S.C. §§ 70501 et. seq.

         Further, Magistrate Judge Reid finds that Movant’s second, third, fourth, and fifth claims,

  alleging that counsel was ineffective for failing to move to dismiss Movant’s indictment because



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  he was wrongly arrested and innocent, unprofessionally negotiating a plea deal that was not in

  Movant’s favor, misleading Movant to plead guilty to a crime he did not commit, and failing to

  withdraw Movant’s guilty plea are meritless and contradictory to the statements made in his

  written factual proffer, at the change of plea hearing, and at the sentencing hearing. R&R at 11–

  16. Magistrate Judge Reid cites to the “strong presumption” that exists for statements made in a

  factual proffer and those made under oath at a change of plea hearing or sentencing hearing, and

  the “heavy burden” Movant bears to show that such statements were false. Id. Magistrate Judge

  Reid finds that Movant fails to meet that burden with regard to his claims that counsel was

  ineffective for failing to move to dismiss Movant’s indictment because he was wrongly arrested

  and innocent, unprofessionally negotiating a plea deal that was not in Movant’s favor, misleading

  Movant to plead guilty to a crime he did not commit, and failing to withdraw Movant’s guilty plea.

  Id.

         Regarding Movant’s sixth claim, that counsel was ineffective for failing to interview three

  of his co-defendants as witnesses, Magistrate Judge Reid first finds that Movant waived this claim

  by pleading guilty. Id. at 16. Additionally, Magistrate Judge Reid finds that to the extent Movant

  argues he might have received a more lenient sentence if counsel had interviewed his co-

  defendants, there would have been no credible argument for counsel to make since Movant had

  just pleaded guilty, and thus Movant establishes neither deficiency nor prejudice. Id. at 16–17.

         Finally, Magistrate Judge Reid recommends that no certificate of appealability issue,

  because Movant cannot meet his burden to show that reasonable jurists could find the denial of his

  § 2255 motion debatable. Id. at 17. The Court agrees.

         UPON CONSIDERATION of the Motion, the R&R, the pertinent portions of the record,

  and being otherwise fully advised in the premises, it is hereby ORDERED AND ADJUDGED that



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  Magistrate Judge Reid’s Report and Recommendation (ECF No. 24) is ADOPTED and Movant’s

  Amended Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person

  in Federal Custody (ECF No. 14) is DENIED. The Clerk of Court is instructed to CLOSE this

  case. All pending motions, if any, are DENIED AS MOOT.

                                                                29th day of December,
          DONE AND ORDERED in Chambers at Miami, Florida, this ____

  2020.



                                               K. MICHAEL MOORE
                                               CHIEF UNITED STATES DISTRICT JUDGE


  c: All counsel of record




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